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             ORAL ARGUMENT NOT YET SCHEDULED
                        No. 22-5328


          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                    _______________________

              ATTORNEY GENERAL OF THE UNITED STATES,
                                 Plaintiff-Appellant,
                                  v.
                          STEPHEN A. WYNN,
                                Defendant-Appellee.
                       _______________________

           On Appeal from the United States District Court
                    for the District of Columbia
                      _______________________

              BRIEF FOR THE ATTORNEY GENERAL
                    OF THE UNITED STATES
                     _______________________
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                       CERTIFICATE AS TO
             PARTIES, RULINGS, AND RELATED CASES

  I.      Parties

        The parties to this case are the Attorney General of the United

States, plaintiff-appellant, and Stephen A. Wynn, defendant-appellee.

No amici have entered an appearance in the district court or in this

Court.

  II.     Ruling Under Review

        The October 12, 2022, decision of the district court (Boasberg, J.)

dismissing the complaint without prejudice is reported at Attorney

General of the United States v. Wynn, No. 22-cv-1372, 2022 WL 7002845

(D.D.C. Oct. 12, 2022), and can be found at A182-A201.

  III. Related cases

        There are no related cases.

                                      /s/ Joseph P. Minta
                                      Joseph P. Minta
                                      Attorney for the Attorney General
                                      of the United States
Dated: May 12, 2023




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                                        GLOSSARY

FARA ...................................................... Foreign Agents Registration Act

PRC ................................................................... People’s Republic of China




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                            INTRODUCTION

     “[T]o protect the national defense, internal security, and foreign

relations of the United States,” the Foreign Agents Registration Act

(FARA) requires agents of foreign principals to register with the

Attorney General “so that the Government and the people of the United

States may be informed of the identity of such persons and may

appraise their statements and actions in the light of their associations

and activities.” Meese v. Keene, 481 U.S. 465, 469 (1987) (quoting Act of

April 29, 1942, Pub. L. No. 77-532, 56 Stat. 248, 248-49). “The idea is a

frequently recurring one in modern government: public disclosure is

needed in order for the public (and, at times, the Government itself)

accurately to evaluate such activities.” United States v. McGoff, 831

F.2d 1071, 1074 (D.C. Cir. 1987). Accordingly, FARA empowers the

Attorney General to sue civilly for an order “requiring compliance with

any appropriate provision” of the statute, 22 U.S.C. § 618(f), including

the core registration requirement, and makes willful violations of the

statute a criminal offense, id. § 618(a).

     With great reluctance, the district court below interpreted this

Court’s precedent to render FARA’s civil enforcement mechanism
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toothless. The district court concluded that once an individual has

ceased acting as an agent of a foreign principal, no civil suit can compel

his delinquent registration. A189. This was so, the court held, despite

the fact that “even agents who have since ended their agency

relationship but who never registered their activities are still in

possession of information that FARA says the public needs.” A200

(internal quotation marks and alterations omitted). The opportunity for

gamesmanship is obvious: in this Circuit, foreign agents are now free to

ignore FARA’s registration requirements secure in the knowledge that,

once they have terminated their activities on behalf of a foreign

principal, no civil remedy exists.

      The district court’s conclusion was incorrect. Congress long ago

acted “to remove any doubt as to the liability of an agent to file a

registration statement for the period in which he was acting as an agent

and thereafter has ceased such activity.” McGoff, 831 F.2d at 1087

(quoting H.R. Rep. No. 81-1775, at 1 (1950)). The plain language of the

statute authorizes civil suits, such as this one, to compel registration

even when an individual has ceased acting on behalf of a foreign

principal. The district court’s decision should be reversed.
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                  STATEMENT OF JURISDICTION

      The district court had jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1345, as well as 22 U.S.C. § 618(f). The district court issued its

decision dismissing the complaint on October 12, 2022, A181, and a

timely notice of appeal was filed on December 9, 2022, A202. As an

appeal of a final order of a district court, this Court has jurisdiction

pursuant to 28 U.S.C. § 1291.

                         RELEVANT STATUTES

      The relevant sections of the Foreign Agents Registration Act, 22

U.S.C. § 611 et seq., are set forth in the addendum to this brief.

                     STATEMENT OF THE ISSUE

      Whether the Attorney General is authorized to file a civil

enforcement action seeking an order requiring a foreign agent’s

compliance with the registration requirements of the Foreign Agents

Registration Act after the agent’s activities on behalf of a foreign

principal have ceased.




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                     STATEMENT OF THE CASE

     A.    Stephen Wynn’s Actions on Behalf of China

     In October 2020, Elliott Broidy, defendant Stephen Wynn’s

predecessor as the finance chair of the Republican National Committee,

pleaded guilty to conspiring to violate the Foreign Agents Registration

Act. Plea Agreement, United States v. Broidy, No. 20-cr-210 (D.D.C.

Oct. 20, 2020), ECF No. 8. Broidy admitted that, in exchange for

millions of dollars and without registering under FARA, he lobbied the

President and Attorney General of the United States, as well as other

high-level officials in the administration and the Department of Justice,

on behalf of the People’s Republic of China (PRC or China). See

Statement of Offense, United States v. Broidy, No. 20-cr-210 (D.D.C.

Oct. 20, 2020), ECF No. 7. In particular, Broidy lobbied the U.S.

government (1) to drop civil forfeiture proceedings concerning the

embezzlement of billions of dollars from a Malaysian company and (2)

to arrange for the removal and return to China of a Chinese dissident

living in the United States. 1 See id. Nickie Lum Davis, who assisted


      1On January 19, 2021, the President issued Broidy a full and
unconditional pardon covering the offenses charged in the case. See
(continued . . .)
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Broidy in the scheme, also pleaded guilty to violating FARA. See

Hearing Minutes, United States v. Davis, No. 20-cr-68 (D. Haw. Aug. 31,

2020), ECF No. 13, appeal docketed, No. 23-10015 (9th Cir. Jan. 26,

2023). A jury also found Prakazrel Michel guilty on charges related to

the scheme. See Verdict Form, United States v. Michel, No. 19-cr-148

(D.D.C. Apr. 26, 2023), ECF No. 273.

     As alleged in the Complaint, 2 Wynn played a central role, working

with Broidy and on behalf of the PRC government, in lobbying for the

removal of the same Chinese dissident businessperson. In May 2017,

China’s Vice Minister of Public Security, Sun Lijun, met with Broidy,

Davis, and Michel. A4. Sun explained that he sought the removal and

return of a Chinese businessperson who fled to the United States in

2014 and was seeking asylum here. A4-A5. In June 2017, Broidy

approached Wynn regarding Sun’s request. A5. Broidy believed that



Notice of Exec. Grant of Clemency & Consent Mot. To Dismiss as Moot,
United States v. Broidy, No. 20-cr-210 (D.D.C. Apr. 13, 2021), ECF No.
15.
      2“[O]n review of motions to dismiss,” this Court accepts “the facts
as Plaintiffs allege them, with reasonable inferences drawn in their
favor.” Shaffer v. George Washington Univ., 27 F.4th 754, 761 (D.C. Cir.
2022).
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Wynn’s Republican National Committee experience, business dealings

in China, and friendship with the President would be helpful in gaining

access to Trump administration officials. A5. Broidy told Wynn that

Sun requested Wynn’s assistance in bringing the issue to the attention

of the administration. A5. He provided Wynn with the targeted

Chinese businessperson’s passport photo, an Interpol red notice, and

various news articles about the person. A5. Later that month, Wynn

and Sun spoke by telephone, and Sun directly requested Wynn’s

assistance with seeking the businessperson’s removal from the United

States. A5. Wynn agreed to raise the issue with then-President Trump

and other administration officials. A5.

     On June 27, 2017, Wynn dined with President Trump and one or

more other administration officials. A6. During this dinner, Wynn

conveyed to the President China’s desire to have the Chinese

businessperson removed and provided the President’s secretary with

the businessperson’s passport photo. A6. After the dinner, Broidy

texted Wynn (through Wynn’s wife) that Sun was “extremely pleased

and said that President Xi Jinping appreciates [Wynn’s] assistance.”

A6. The next day Wynn told Broidy, “This is with the highest levels of
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the state department and defense department. They are working on

this.” A6-A7.

     In July 2017, Wynn met with two National Security Council

members and the White House chief of staff. A7-A8. Wynn told them

that Chinese officials had contacted him and that “they were very

interested in having” the Chinese businessperson returned to China as

soon as possible. A8. In August 2017, Wynn had several unscheduled

meetings with the President and discussed the Chinese businessperson

during at least some of those meetings. A8. That month Broidy and

Wynn together called the President to ask about the status of the

Chinese businessperson. A8. The President responded that he would

look into it. A8.

     From June until August 2017, Wynn and Sun had at least eight

more calls, averaging approximately 30 minutes in length. A7. During

those calls, Sun reiterated the importance of the United States not

renewing the Chinese businessperson’s visa and stated that he would

appreciate Wynn’s help. A7. During those same calls, Wynn repeatedly

mentioned his business interests in Macau, a special administrative

region of China. A7. Wynn owned three casinos in Macau, whose
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licenses were scheduled for renegotiation in 2019. A3, A9. In 2016,

China had restricted the number of gaming tables and machines in

those casinos. A9. The Complaint alleges that Wynn’s actions were

motivated by his desire to protect his business interests in China. A9.

     In October 2017, Wynn told Sun that he had made U.S. officials

aware of the request but that he was not able to provide any additional

assistance. A8-A9. He asked Sun to stop contacting him. A8-A9. He

told Sun that he was “grateful for the privilege of being part of the

Macau and PRC business community.” A9. China’s efforts to induce

the removal of the dissident businessperson from the United States

were unsuccessful. A8.

     B.    Proceedings Below

     In May 2018, the government contacted Wynn and informed him

that he was required to register under FARA as an agent of Sun and

the People’s Republic of China. A11. Wynn, through counsel, denied

any obligation to register. A11. In May 2022, after the guilty pleas of

Broidy and Davis and after additional correspondence with Wynn’s

counsel, the government brought this civil suit seeking a declaratory



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judgment that Wynn was required to register under FARA and an

injunction requiring him to do so.

     Wynn moved to dismiss the Complaint, arguing, among other

things, that any obligation to register ended in October 2017, when he

ceased acting as an agent of China. Specifically, Wynn claimed that

this Court’s decision in United States v. McGoff, 831 F.2d 1071 (D.C.

Cir. 1987), held that an individual’s obligation to register ends

immediately upon termination of his foreign agency and thereby

foreclosed the possibility of a civil suit compelling retroactive

registration under FARA. See A32-A38.

      In McGoff, this Court addressed a criminal FARA prosecution

where the defendant had ceased acting as a foreign agent more than

seven years before he was indicted. 831 F.2d at 1072. Because a five-

year statute of limitations applied, id. at 1073, the timeliness of the

prosecution hinged on when the statute of limitations began to run.

The defendant argued that it began to run when he ceased acting as an

agent, while the government argued that the failure to register was a

continuing violation, and thus the statute of limitations had not begun

to run. See id.
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      To resolve this dispute, the McGoff majority analyzed and

interpreted Section 618(a), which makes it a crime to “willfully violate[]

any provision” of FARA, and Section 618(e), which makes the failure to

file a “continuing offense.” 831 F.2d at 1078-81. However, the Court

concluded that “the decisive question in resolving the statute-of-

limitations issue is when the continuing offense terminates. This

question . . . turns on the duration of the registration obligation of

section 612(a).” Id. at 1081-82.

     The McGoff majority and dissent parted ways at this point.

Section 612(a) of FARA states:

      The obligation of an agent of a foreign principal to file a
      registration statement shall, after the tenth day of his
      becoming such agent, continue from day to day, and
      termination of such status shall not relieve such agent from
      his obligation to file a registration statement for the period
      during which he was an agent of a foreign principal.

As the district court here explained, there are two possible

interpretations of this language, depending on whether one reads the

concluding clause (“for the period during which he was an agent of a

foreign principal”) as modifying “registration statement” or “obligation.”

A191. The district court observed that the former was “the more


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sensible reading,” and it would “clarify that, although registration as an

agent is retroactively required even after the termination of an agency

relationship, the registration statements that a former agent needed to

file would have to report information only from those prior periods

during which he was acting on behalf of a foreign principal, as opposed

to indefinitely into the future.” A191-A192. The district court went on

to explain that “[t]he benefit of this interpretation is that it comports

with the rule of the last antecedent and thus is the ‘more natural’

reading of the text.” A192. This was also the reading Judge Bork

endorsed in his McGoff dissent. See 831 F.2d at 1100.

      The McGoff majority, however, found that, while the language was

ambiguous, the concluding clause of Section 612(a) should be read to

modify “obligation” rather than “statement.” See 831 F.2d at 1091. As

the district court observed, “this reading creates its own challenges.”

A193. This interpretation attributes to Congress the desire to solve a

non-existent problem—that criminal liability might otherwise vanish

the moment agency terminates. A193. And it reads Congress to have

attempted to solve this problem in a strange way, as the concluding

phrase in Section 612(a) would be unnecessary and only introduce
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ambiguity. A193. Nonetheless, the district court found that it was

bound by McGoff to adopt this interpretation of Section 612(a).

      The district court then addressed the implications of this reading

for civil suits under Section 618(f) of FARA. The government argued

that McGoff’s interpretation of Section 612(a) “has no bearing on the

interpretation of § 618(f) and whether that provision allows the

Government to bring an enforcement action to compel registration

where the agency relationship may have ceased.” A117. Indeed, the

McGoff majority declined to adopt Judge Bork’s view that its

interpretation of Section 612(a) would impact civil enforcement suits,

and merely “assum[ed] arguendo” that this was true. See McGoff, 831

F.2d at 1094 n.32. Although describing the issue as “close,” A189, the

district court disagreed with the government and held that, in the

absence of a continuing obligation to register, the Attorney General

could not maintain a civil enforcement action. A199. The court

reasoned that “Section 618(f) merely creates the cause of action,” and

therefore the government must identify a separate provision of FARA

that the defendant was currently violating. A198.



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      Because McGoff held that Wynn’s obligation to register expired

upon the termination of his agency relationship, the district court

dismissed the complaint. The district court confirmed, however, that

the government’s “aim in this lawsuit . . . is plainly consistent with the

central goal of FARA.” A200 (internal quotation marks omitted).

“Indeed, the Court does not dispute that even agents who have since

ended their agency relationship but who never registered their

activities are still in possession of ‘information that [FARA] says the

public needs.’” A200 (quoting McGoff, 831 F.2d at 1099 (Bork, J.,

dissenting)).

                     SUMMARY OF ARGUMENT

      The Foreign Agents Registration Act authorizes the Attorney

General to bring this suit. The Complaint alleges that, in 2017, Wynn

acted as an agent of a foreign principal without registering under FARA

as the statute requires. Section 618(f) empowers the Attorney General

to sue for “an order requiring compliance with any appropriate

provision” of FARA “whenever any agent of a foreign principal fails to

comply with” the statute. Wynn acted as an agent of a foreign principal



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and failed to comply with the statute’s registration requirement. This

suit thus falls squarely within the text of Section 618(f).

      The statute’s structure and history confirm that an unregistered

foreign agent cannot evade his legal responsibility to register by

terminating his agency relationship. In 1950, Congress amended

FARA’s registration requirement “to remove any doubt as to the

liability of an agent to file a registration statement for the period in

which he was acting as an agent and thereafter has ceased such

activity.” H.R. Rep. No. 81-1775, at 1. When Congress added FARA’s

civil enforcement provision in 1966, it had thus already acted, in the

criminal context, to foreclose the argument that Wynn now makes in

the civil context. There is no basis in FARA’s text or legislative history

for concluding that Congress instead sought to open a loophole for civil

suits that it had already closed in the criminal context. Rather, FARA’s

structure, like its text, indicates that its criminal and civil enforcement

provisions both remain available after an individual has ceased acting

as an agent.

      To hold, as the district court did, that the government must

identify a separate provision of FARA the defendant is continuing to
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violate would render significant portions of Section 618(f) a hollow shell

and would violate the rule against surplusage. Such a reading would

also run counter to the purpose of the statute because it would create

gaping holes in the government’s ability to civilly enforce FARA that

foreign powers and their agents could easily exploit. Nothing in this

Court’s decision in United States v. McGoff, 831 F.2d 1071 (D.C. Cir.

1987), requires such a reading, as that case focused on FARA’s criminal

provisions, mentioning Section 618(f) only in passing. The McGoff

majority carefully and explicitly avoided opining on the question

presented in this case, even in the face of repeated criticism from the

dissent about the potential impacts on civil enforcement of FARA. See,

e.g., 831 F.2d at 1094 n.32. Because Section 618(f) authorizes this civil

suit, the district court’s dismissal of the Complaint should be reversed.

      Moreover, even if the government were required to show an

ongoing violation of FARA, it has alleged an ongoing violation of the

plain language of Section 612(a) here. Although the government

concedes for purposes of this brief that McGoff held “that the statutory

obligation to file expires when the agent ceases activities on behalf of

the foreign principal,” 831 F.2d at 1082, the government maintains that
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McGoff’s analysis of Section 612(a) was deeply flawed, misapplying the

canons of statutory interpretation. Properly read, Section 612(a)

imposes an ongoing registration obligation on agents of foreign

principals such as Wynn, regardless of any subsequent actions the

agent may have taken. While the government accepts for purposes of

this case McGoff’s ultimate conclusion regarding when the criminal

statute of limitations begins to run, the government preserves its

arguments regarding the proper interpretation of Section 612(a) for

further review.

                              ARGUMENT

      This case concerns the proper interpretation of the Foreign Agents

Registration Act. As “a pure legal question of statutory interpretation,”

this Court’s review is de novo. Validus Reinsurance, Ltd. v. United

States, 786 F.3d 1039, 1042 (D.C. Cir. 2015). “In statutory

interpretation disputes, a court’s proper starting point lies in a careful

examination of the ordinary meaning and structure of the law itself.”

Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019).

As explained below, the ordinary meaning of FARA’s Section 618(f), as



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well as the structure and history of the statute, require the district

court’s decision to be reversed.

I.    THE STATUTE’S CIVIL ENFORCEMENT PROVISION
      AUTHORIZES SUITS AGAINST BOTH CURRENT AND
      FORMER AGENTS.

      When Congress originally passed FARA in 1938, the statute

contained only criminal enforcement provisions. Over time, the need

for a civil enforcement mechanism became clear, as “employment of

criminal sanctions in this setting was . . . to employ a Howitzer in lieu

of a fly swatter.” McGoff, 831 F.2d at 1094. Thus, in 1966, Congress

added Section 618(f) to FARA, empowering the government to file a civil

enforcement action

      [w]henever . . . any person is engaged in or about to engage
      in any acts which constitute or will constitute a violation of
      any provision of this subchapter, or regulations issued
      thereunder, or whenever any agent of a foreign principal
      fails to comply with any of the provisions of this subchapter
      or the regulations issued thereunder, or otherwise is in
      violation of the subchapter.

22 U.S.C. § 618(f). The two prongs of this authorization target ongoing

(or anticipated) violations and completed violations, respectively.

Because the Complaint alleges a completed violation—that Wynn was

an agent of a foreign principal who failed to comply with the statute—

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this suit is appropriate under Section 618(f), and the district court’s

dismissal of the Complaint should be reversed.

     A.    The Plain Language of Section 618(f) Authorizes Suits
           Against Former Agents.

      “Today, . . . statutory interpretation cases almost always start

with a careful consideration of the text, and there is no reason to do

otherwise here.” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321,

2337 (2021). To determine the scope of the government’s civil

enforcement power, this Court’s analysis should begin with the text

spelling out that power. Section 618(f) authorizes the government to

bring suit in two circumstances. First, the government may sue

“[w]henever . . . any person is engaged in or about to engage in any acts

which constitute or will constitute a violation of any provision of this

subchapter, or regulations issued thereunder.” Second, Section 618(f)

authorizes suit “whenever any agent of a foreign principal fails to

comply with any of the provisions of this subchapter or the regulations

issued thereunder, or otherwise is in violation of the subchapter.”

      The two prongs of Section 618(f) must be given independent

meaning. See United States v. Taylor, 142 S. Ct. 2015, 2024 (2022)


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(“[W]e do not lightly assume Congress adopts two separate clauses in

the same law to perform the same work.”). To do so is straightforward.

The verbs in the first clause—“engaged in or about to engage in”—show

that the clause addresses ongoing and anticipated violations. It uses

the term “any person” to further emphasize that it includes those who

are not yet, but are about to become, agents. In contrast, the second

clause addresses those who have already acted as agents but who “fail[]

to comply with” FARA’s requirements. This case falls squarely within

this latter category.

      In holding that the government cannot sue individuals who are no

longer acting as agents of foreign principals, the district court rendered

the second authorization pure surplusage. Any current agent of a

foreign principal who “fails to comply with” FARA’s requirements

necessarily is a “person . . . engaged in . . . acts which constitute or will

constitute a violation of” FARA—namely acting as an agent of a foreign

principal without being properly registered. To give independent force

to the second prong of Section 618(f), the prong must be read, as its

plain language indicates, to apply to those who have ceased acting as

agents of foreign principals, but who fail to register in compliance with
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FARA’s requirements. After all, it is a “cardinal rule of statutory

interpretation that no provision should be construed to be entirely

redundant.” Winder v. Erste, 566 F.3d 209, 214 (D.C. Cir. 2009)

(internal quotation marks omitted).

      The remedies that Section 618(f) permits underscore this point.

In a civil enforcement action, the government may seek “an order

enjoining such acts or enjoining such person from continuing to act as

an agent of such foreign principal, or for an order requiring compliance

with any appropriate provision of the subchapter or regulation

thereunder.” Again, the statute contemplates two scenarios: (a) an

individual who is violating or about to violate the statute, who can be

enjoined from doing so, and (b) someone who has failed to comply with

the statute, who can be ordered to comply. This latter remedy is

appropriately invoked, as here, against an individual who has ceased

acting as a foreign agent and continues to fail to comply with the

registration requirement.

      This suit falls firmly within Section 618(f)’s plain language. The

Complaint alleges that Wynn failed to comply with FARA, thereby

satisfying the condition for the Attorney General to file suit. And the
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suit seeks an order compelling his compliance, one of the remedies

explicitly contemplated. In holding that civil enforcement actions under

FARA are never possible against agents who have ceased acting as

such, the district court erroneously rendered each of these portions of

Section 618(f) meaningless.

     B.    The Statute’s Structure and History Confirm This
           Interpretation.

      Reading Section 618(f) to authorize civil enforcement actions

against agents of foreign principals who fail to register but cease their

activities is also the interpretation most consistent with FARA’s overall

structure and history. See Niz-Chavez v. Garland, 141 S. Ct. 1474,

1482 (2021) (“To the extent any doubt remains about the meaning of the

. . . statutes before us, we believe a wider look at [the] statutory

structure and history [is] enough to resolve it.”). Shortly after FARA’s

enactment, the Department of Justice sought amendments to FARA’s

registration requirement to close a potential loophole that foreign

agents might exploit: “Doubt has . . . arisen as to the liability of an

agent to file a registration statement for the period during which he was

acting as an agent of a foreign principal if he has since ceased such


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activity.” McGoff, 831 F.2d at 1086 (quoting Letter from Peyton Ford to

The Speaker, House of Representatives (Apr. 12, 1949), reprinted in

H.R. Rep. No. 81-1775, at 3); see also id. at 1087 (“[I]ndividuals subject

to FARA were attempting to evade the Act’s requirements by ceasing

their activities and claiming as an affirmative defense that withdrawal

from an agency relationship automatically eliminated liability for

failure to file.”). To close this potential loophole, Congress both added

language to Section 612(a) stating that “termination of [foreign agency]

status shall not relieve such agent from his obligation to file a

registration statement for the period during which he was an agent of a

foreign principal,”3 and introduced Section 618(e), which made the

failure to register under FARA a “continuing offense.” See generally

McGoff, 831 F.2d at 1086-93 (recounting this history).

      When Congress added Section 618(f)’s civil enforcement

mechanism to FARA in 1966, see Pub. L. No. 89-486, § 7(2), 80 Stat.

244, 248, it did so against the backdrop of this history. That is,


      3The language added in 1950 differed slightly from Section
612(a)’s current text in ways not relevant here. The section’s current
language was finalized in 1966, at the same time Section 618(f) was
added. See McGoff, 831 F.2d at 1090 n.29.
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Congress had already acted to prevent agents from avoiding criminal

exposure for violating FARA merely by ceasing their activities.

Congress therefore drafted Section 618(f) to allow civil enforcement

actions against such agents, as described above. Wynn claims, however,

that Congress affirmatively reintroduced this loophole, allowing foreign

agents to easily avoid civil enforcement actions merely by ceasing their

activities before the Attorney General can file suit. Nothing in FARA’s

structure or legislative history suggests Congress sought to produce

such a strange result. See Kaseman v. District of Columbia, 444 F.3d

637, 642 (D.C. Cir. 2006) (“When possible, statutes should be

interpreted to avoid ‘untenable distinctions,’ ‘unreasonable results,’ or

‘unjust or absurd consequences.’”) (quoting Am. Tobacco Co. v.

Patterson, 456 U.S. 63, 71 (1982)).

      FARA’s structure also confirms this interpretation. The statute

contains both criminal and civil provisions, compare 22 U.S.C. § 618(a),

with id. § 618(f), with the civil provision designed to provide a less

severe enforcement mechanism. See McGoff, 831 F.2d at 1094 (“The

addition . . . of civil enforcement mechanisms in 1966 further stressed

the goal of forcing disclosure rather than punishing nondisclosures.”).
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It is beyond dispute that criminal liability continues beyond the end of

an individual’s agency. Indeed, McGoff held that it extends for five

years beyond that point. See 831 F.2d at 1096. Yet the district court

held that once an individual’s agency has terminated, the government

can only choose whether “to employ a Howitzer,” as the “fly swatter” is

unavailable. See id. at 1094. The far more coherent structure would,

consistent with Section 618(f)’s plain language, allow FARA’s civil

enforcement mechanism to also remain available.4 See Mellouli v.

Lynch, 575 U.S. 798, 809-10 (2015) (“Statutes should be interpreted as a

symmetrical and coherent regulatory scheme.” (internal quotation

marks omitted)).

      Furthermore, FARA explicitly requires at least one filing after an

agency relationship has ended. See 22 U.S.C. § 612(b) (requiring

supplemental filings every six months); 28 C.F.R. § 5.205 (“A registrant

shall, within 30 days after the termination of his obligation to register,

file a final statement on the supplemental statement form . . . .”).



      4Other portions of FARA’s structure also extend beyond the end of
an individual’s agency. For example, FARA requires agents to preserve
records related to their agency for several years. See 22 U.S.C. § 615.
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Nothing in FARA’s text or history suggests Congress intended this final

filing requirement to be enforceable only criminally, but that is

precisely the result that would ensue if Section 618(f) is unavailable

once an individual’s agency relationship has ended. This is yet another

item in “a long parade of textual and contextual clues,” Niz-Chavez, 141

S. Ct. at 1484, that indicate that Section 618(f) authorizes civil suits

even after an individual has terminated his or her agency.

     C.    The District Court Erred in Its Application of McGoff.

      Rather than grounding its analysis in the text of Section 618(f),

the district court concluded that “McGoff forecloses the Government’s

interpretation of the statute and requires dismissal of the suit.” A189.

This was error, as McGoff does not control the result in this case. In

McGoff, this Court addressed the statute of limitations for criminal

violations of FARA; the decision mentioned FARA’s civil enforcement

provision, Section 618(f), only in passing. See 831 F.2d at 1075 (noting

Section 618(f)’s role in FARA’s “comprehensive regulatory scheme”).

Instead, McGoff analyzed and interpreted Section 618(a), which makes

it a crime to “willfully violate[] any provision” of FARA, and Section

618(e), which makes the failure to register a “continuing offense.”

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Although the McGoff majority aimed to read these provisions “in

harmony” with the rest of the statute, id. at 1081, even this effort only

analyzed Section 612(a), which sets out an agent’s registration

obligation. As the government argued to the district court, “[c]ivil

enforcement actions . . . are authorized by a separate statutory

provision.” See A116 (citing 22 U.S.C. § 618(f)).5

      The McGoff majority explicitly discussed, and left open, the

question presented in this case. See 831 F.2d at 1094 n.32. Faced with

the dissent’s accusation that the Court was “preclud[ing] the



      5 The government also noted that McGoff’s discussion of the rule of
lenity could “ha[ve] no bearing on the interpretation of § 618(f).” A117;
see also A118 (noting “the Government’s reliance on § 618(f) in this
case”). However, the district court faulted the government for not
unpacking Section 618(f)’s language. See A199 (“If an interpretation of
§ 618(f) exists that would allow the Government to compel Wynn to
register today notwithstanding McGoff’s interpretation of the
registration obligation in § 612(a), the Government does not provide it
here.”). To the extent the government now elaborates further on its
view of Section 618(f) to support its central claim, this Court has made
clear that parties “enjoy[] a measure of latitude to elaborate on [a]
theory in service of the same argument” raised below, as this brief does.
Shea v. Kerry, 796 F.3d 42, 54 (D.C. Cir. 2015); see also Citizens United
v. Fed. Election Comm’n, 558 U.S. 310, 330-31 (2010) (“Once a federal
claim is properly presented, a party can make any argument in support
of that claim; parties are not limited to the precise arguments they
made below.” (internal quotation marks omitted)).
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Government from using the civil injunctive remedies to compel anyone

to file a registration statement once the agency relationship has ended,”

the McGoff majority refused to accept the premise. Id. Instead, the

majority only “assum[ed] arguendo” that the dissent’s premise was true

and noted that the Court was only holding that the criminal statute of

limitations continued to run for five years from that point. Id. If Wynn

were correct that McGoff had already decided this case, no such

assumption would have been necessary.

      Yet the district court concluded that “Section 618(f) merely creates

the cause of action,” and that “[t]he provision that the Government

actually seeks to enforce with its desired injunction, and which it

alleges that Wynn has failed to comply with, is the registration

requirement of § 612(a).” A198. But this analysis reads a limitation

into Section 618(f) found nowhere in the text—that the government

must identify a separate provision of FARA that a defendant is

continuing to violate. On the contrary, once a violation has occurred,

this satisfies one of Section 618(f)’s conditions precedent—when “any

agent of a foreign principal fails to comply with any of the provisions of”

FARA—and a civil enforcement action is authorized. Then, Section
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618(f) empowers a district court to issue “an order requiring compliance

with any appropriate provision” of FARA.

      In this way, FARA operates similarly to other disclosure statutes.

For example, the Securities and Exchange Commission relies on civil

suits to enforce financial reporting requirements, including for

reporting obligations in prior years. See, e.g., SEC v. Research

Resources, Inc., No. 85-CIV-3530, 1986 WL 11446, at *4 (S.D.N.Y. Oct.

8, 1986) (Even where “defendants conten[d] that the reports ought not

be required because they deal with information no longer relevant about

business no longer existing . . . , the Court may properly issue

mandatory injunctions requiring defendants to file their delinquent

reports and . . . correct [their] misleading Form 8-K.” (internal

quotation marks omitted)). The Federal Election Commission likewise

sues to enforce the disclosure requirements of the Federal Election

Campaign Act, including for violations during prior elections. See, e.g.,

Fed. Election Comm’n v. Comm. of 100 Democrats, 844 F. Supp. 1, 8

(D.D.C. 1993) (enforcing agreement requiring defendant committee to

“fil[e] scheduled reports disclosing all contributions received and

disbursements made” in past election). In none of these instances is the
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government required to further show that a violation continues to occur,

only that one has occurred. 6 The district court’s conclusion that FARA’s

civil enforcement provision uniquely requires a showing of a separate,

continuing violation should be reversed. “[W]henever any agent of a

foreign principal fails to comply with any of the provisions of” FARA, a

civil enforcement action is appropriate, regardless of the status of that

agent when the enforcement action is instituted.

II.   AN UNREGISTERED FOREIGN AGENT REMAINS
      OBLIGATED TO REGISTER EVEN AFTER THE AGENCY
      RELATIONSHIP ENDS.

      Even if the government was required to show that a foreign agent

remains obligated to register after ceasing his activities, the plain


      6 In Shultz v. Loc. Union 1694, Int’l Longshoremen’s Ass’n, 310 F.
Supp. 1356 (D. Del. 1970), the Secretary of Labor sued to enforce
financial reporting requirements set forth in the Labor Management
Reporting and Disclosure Act. The court found both past and ongoing
violations and issued an injunction addressing each. See id. at 1361
(“[A]n injunction should issue (a) requiring [defendants] to file
corrected, amended reports for the fiscal years 1966, 1967 and 1968,
and (b) enjoining the [defendants] from further violations of the record
keeping and reporting requirements.”); see also SEC v. VTR, Inc., 410 F.
Supp. 1309, 1311-12 (D.D.C. 1975) (“The Permanent Injunction . . .
directed VTR to file with the SEC certain overdue quarterly reports,
annual reports and financial statements, and permanently enjoined
VTR from failing to file timely and proper periodic and current reports
as required.”).
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language of Section 612(a) so states. Section 612(a) of FARA prohibits

any person from “act[ing] as an agent of a foreign principal unless he

has filed with the Attorney General a true and complete registration

statement.” To clarify “the liability of an agent to file a registration

statement for the period during which he was acting as an agent of a

foreign principal if he has since ceased such activity,” Congress added

additional language to Section 612(a) in 1950. McGoff, 831 F.2d at 1087

(quoting H.R. Rep. No. 81-1775, at 1). The provision now states:

      The obligation of an agent of a foreign principal to file a
      registration statement shall, after the tenth day of his
      becoming such agent, continue from day to day, and
      termination of such status shall not relieve such agent from
      his obligation to file a registration statement for the period
      during which he was an agent of a foreign principal.

22 U.S.C. § 612(a) (emphasis added). This language makes clear that

even a former agent remains obligated to register if he has not already

done so.

     The government concedes for purposes of this brief that McGoff

held that “it appears that the statutory obligation to file expires when

the agent ceases activities on behalf of the foreign principal.” 831 F.2d

at 1082. However, in reaching that conclusion, the McGoff majority


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misapplied well-established canons of statutory interpretation in an

effort to avoid continuing criminal liability for willful failures to

register. The government preserves its arguments, outlined below, for a

contrary reading of Section 612(a) for further review by this Court en

banc or the Supreme Court, if necessary.

     A.     FARA’s Plain Text Requires Both Current and Former
            Agents To Register.

      “As in all cases of statutory interpretation, we start with the

controlling statute’s text.” Cook Inlet Tribal Council, Inc. v. Dotomain,

10 F.4th 892, 894 (D.C. Cir. 2021). Read most naturally, the language

added to Section 612(a) anticipates, and directly rejects, Wynn’s claim

that an agent is no longer required to register once the agent has ceased

acting as such. It states that ceasing to act as a foreign agent

(“termination of such status”) “shall not relieve” an individual of the

“obligation to file a registration statement” covering “the period during

which he was an agent.” In other words, an agent cannot avoid the

registration requirement Congress imposed merely by ceasing his

conduct once he has been discovered, or by only acting as an agent for a

short period of time.


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      In McGoff, this Court identified a second possible interpretation of

the language added to Section 612(a). Under that alternative reading,

the phrase “for the period during which he was an agent of a foreign

principal” would reach farther back in the sentence to modify

“obligation” rather than “statement.” See McGoff, 831 F.2d at 1083.

Under that construction, the clause would mean only that, where a

former agent is prosecuted for failing to comply with FARA, the fact

that he has ceased acting as an agent is not a defense.

      Although the McGoff panel was divided over the best reading of

the statute, all three judges agreed that the first reading of Section

612(a)—where the phrase modifies “statement”—is the “more natural”

one. McGoff, 831 F.2d at 1083; id. at 1100 (Bork, J., dissenting). The

district court here also agreed it was “the more sensible reading.” A191.

After all, this reading follows the rule of the last antecedent, which in

its more applicable form as the nearest-reasonable-referent rule states

that “ordinarily, and within reason, modifiers and qualifying phrases

attach to the terms that are nearest.” Grecian Magnesite Mining,

Indus. & Shipping Co. v. Comm’r, 926 F.3d 819, 824 (D.C. Cir. 2019).

Here, “because the nearest referent is also a reasonable one, there is no
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basis for reading the limiting phrase to modify other, more-distant

language.” City of Salisbury v. FERC, 36 F.4th 1164, 1169 (D.C. Cir.

2022).

      The McGoff majority suggested that, under the government’s

reading, the final phrase would be surplusage because “[a] FARA-

required registration statement can, in logic, relate to no period other

than ‘the period during which’ the individual acted as an agent.”

McGoff, 831 F.2d at 1083. On the contrary, “[t]here would be nothing

illogical about requiring a person who becomes an agent of a foreign

principal to disclose information about himself from either before or

after the time he had become an agent.” Id. at 1100 (Bork, J.,

dissenting). The concluding phrase of the relevant portion of Section

612(a), far from being surplusage, acts to foreclose this more expansive

reading of FARA’s registration requirements. See Viereck v. United

States, 318 U.S. 236, 243 (1943) (overturning FARA conviction based on

agent’s failure to disclose activities unrelated to his actions as a foreign

agent).

      Furthermore, the alternative, less natural reading of the statute

adopted by the McGoff majority creates its own surplusage problem. As
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the district court explained, “Congress could have amended § 612(a) by

simply adding the phrase ‘termination of such status shall not relieve

such agent from his obligation to file a registration statement’ without

the concluding clause, which both creates the issue of an ambiguous

referent and does not seem strictly necessary.” A193. “If Congress had

wanted the provision to have that effect, it could have said so in words

far simpler than those that it wrote.” Biden v. Texas, 142 S. Ct. 2528,

2539 (2022).

      This reading also creates the absurdity that Judge Bork pointed

out: the statute’s text would have the same meaning if the word “not”

were removed. See McGoff, 831 F.2d at 1101 (Bork, J., dissenting).

That is, the McGoff majority read Section 612(a) to mean that

“termination of [the agent’s] status shall not relieve [the] agent from his

obligation to file a registration statement” at that point in time. The

text that Congress enacted says precisely the opposite.

      By holding that an agent’s registration obligation immediately

disappears upon termination of his agency, the McGoff majority

adopted an unnatural interpretation that also runs counter to FARA’s

express purpose. See United States v. Cordova, 806 F.3d 1085, 1099
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(D.C. Cir. 2015) (“We ‘must avoid an interpretation that undermines

congressional purpose considered as a whole when alternative

interpretations consistent with the legislative purpose are available.’”

(quoting United States v. Braxtonbrown-Smith, 278 F.3d 1348, 1352

(D.C. Cir. 2002))). As the Supreme Court has recognized, FARA

requires foreign agents to register “so that the Government and the

people of the United States may be informed of the identity of such

persons and may appraise their statements and actions in the light of

their associations and activities.” Meese v. Keene, 481 U.S. 465, 469

(1987) (quoting Act of April 29, 1942, Pub. L. No. 77-532, 56 Stat. 248,

248-49). Many statements that a foreign agent may make will persist

and affect public discourse in the United States well beyond the

termination of the agency relationship. By creating a loophole through

which foreign agents, especially those engaged in short-term activities,

may decline to register without civil consequence, McGoff’s reading of

Section 612(a) dramatically curtails the information available to the




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United States and its people regarding foreign efforts to exert influence

in our country.7

      Even if the more natural reading of Section 612(a) did pose

surplusage concerns, these circumstances closely parallel those in Cook

Inlet Tribal Council, Inc. v. Dotomain, 10 F.4th 892 (D.C. Cir. 2021).

There, this Court applied the nearest-reasonable-referent canon even in

the face of potential concerns about surplusage. Id. at 896. This Court

did so because it was “far more faithful to the statutory scheme to view”

the “provision as reinforcing the rest of the statute in a belt-and-

suspenders manner,” and because a contrary reading would do greater


      7 The McGoff majority asserted, in dicta and without citation, that
“FARA does not evince an antiquarian interest on Congress’ part;
FARA’s focus is on the here and now.” 831 F.2d at 1082. Yet, even this
claim immediately followed the acknowledgement that FARA requires
agents to preserve records for several years after their agency
relationship ends. See id. (citing 22 U.S.C. § 615). Moreover, “there is
no reason to expect the Act to hinge the disclosure obligation on the
continuation of the agency. Cessation of agency does not eliminate the
evil the Act seeks to remedy, which is the failure to disclose; only
disclosure itself, i.e., registration, puts an end to that evil.” Id. at 1099
(Bork, J., dissenting); cf. Research Resources, 1986 WL 11446, at *4
(“Were the Court to accept the notion that the passage of time renders
otherwise required reports meaningless, and therefore unnecessary, the
opportunity to circumvent all reporting requirements would arise,
requiring only that issuers stave off their enforcement until
circumstances change. This the Court cannot allow.”).
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violence to the statutory language. Id. Similarly, applying the rule of

the last antecedent is most consistent with FARA’s purpose and avoids

the problems posed by the alternative, less natural reading of the

statute. After all, “the mere possibility of clearer phrasing cannot

defeat the most natural reading of a statute.” Caraco Pharm. Labs.,

Ltd. v. Novo Nordisk A/S, 566 U.S. 399, 416 (2012); see also Salinas v.

United States, 522 U.S. 52, 60 (1997) (“A statute can be unambiguous

without addressing every interpretive theory offered by a party.”). The

most natural reading of Section 612(a) requires agents of foreign

principals to register even if they failed to do so during the time they

were acting as such. Accordingly, even if (contrary to our showing

above) the government were required to show that FARA continues to

require Wynn to remedy his prior failure to register, the plain language

of Section 612(a) in fact does so.

     B.    This Case Does Not Involve McGoff’s Holding
           Regarding the Criminal Statute of Limitations.

      As noted above, the government is preserving, for further review if

necessary, its argument that the interpretation of Section 612(a)

adopted by the majority in McGoff was incorrect. But to be clear, the


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government accepts for purposes of this case McGoff’s ultimate holding

regarding when the statute of limitations for a criminal FARA violation

begins to run. McGoff will of course remain the law of this Circuit on

that issue even if the panel or a subsequent court rules in the

government’s favor on the civil enforcement issue.

      While the government accepts the McGoff Court’s view that

Congress intended the criminal statute of limitations to run from the

end of the agency relationship, McGoff’s conclusion need not have been

based on an unnatural reading of Section 612(a). Rather, the result in

McGoff could have been based on a closer analysis of the language of

Sections 618(a) and 618(e), which define the criminal offense. A

reviewing court could decide, for example, that the criminal offense

defined in Section 618(e) is the “failure to file,” a term used only in this

section and the related Section 612(d), which also discusses criminal

liability. (Section 612(a), by contrast, repeatedly uses the term

“obligation to file” rather than “failure to file.”) A reviewing court could

conclude that the phrase “as long as such failure exists” in Section

618(e) is ambiguous and is better read, especially in a criminal context,

to encompass only the time during which an individual is acting as an
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agent. In this manner, a reviewing court could reject McGoff’s

erroneous interpretation of Section 612(a) while still concluding, based

on its interpretation of Sections 618(a) and 618(e), that the criminal

statute of limitations for FARA registration violations begins to run

when the agency relationship terminates.

      Of course, this appeal arises out of a civil suit to enforce FARA’s

registration obligations, not a criminal prosecution for a failure to file.

Thus, a reviewing court in this case need not resolve whether McGoff’s

ultimate holding regarding the criminal statute of limitations was

correct. Even though the government accepts for purposes of this case

McGoff’s ultimate conclusion regarding the criminal statute of

limitations, the government is preserving its arguments regarding

McGoff’s misreading of Section 612(a) for further review, if necessary.




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                             CONCLUSION

      For the foregoing reasons, the district court’s decision dismissing

the Complaint should be reversed.

                                  Respectfully submitted,

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Dated: May 12, 2023




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                  CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing brief complies with the 13,000-

word limit of Fed. R. App. P. 32(a)(7)(B) because, excluding the parts of

the brief exempted by Fed. R. App. P. 32(f), this brief contains 7782

words.

      I further certify that this brief complies with the requirements of

Fed. R. App. P. 32(a)(5) and (a)(6) because it has been prepared in a

proportionally spaced typeface using 14-point Century Schoolbook font.

                                  /s/ Joseph P. Minta
                                  Joseph P. Minta
                                  Attorney for the Attorney General
                                  of the United States




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                     CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of May 2023, a copy of the

foregoing Brief for the Attorney General of the United States was filed

electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.



                                    /s/ Joseph P. Minta
                                    Joseph P. Minta
                                    Attorney for the Attorney General
                                    of the United States




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                               STATUTORY ADDENDUM

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                      The Foreign Agents Registration Act
22 U.S.C. § 611
 As used in and for the purposes of this subchapter—
        (a) The term “person” includes an individual, partnership,
        association, corporation, organization, or any other combination of
        individuals;
        (b) The term “foreign principal” includes—
                (1) a government of a foreign country and a foreign political
                party;
                (2) a person outside of the United States, unless it is
                established that such person is an individual and a citizen of
                and domiciled within the United States, or that such person
                is not an individual and is organized under or created by the
                laws of the United States or of any State or other place
                subject to the jurisdiction of the United States and has its
                principal place of business within the United States; and
             (3) a partnership, association, corporation, organization, or
        other combination of persons organized under the laws of or
        having its principal place of business in a foreign country.


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      (c) Expect [sic] as provided in subsection (d) of this section, the
      term “agent of a foreign principal” means—
           (1) any person who acts as an agent, representative,
           employee, or servant, or any person who acts in any other
           capacity at the order, request, or under the direction or
           control, of a foreign principal or of a person any of whose
           activities are directly or indirectly supervised, directed,
           controlled, financed, or subsidized in whole or in major part
           by a foreign principal, and who directly or through any other
           person—
                 (i) engages within the United States in political
                 activities for or in the interests of such foreign
                 principal;
                 (ii) acts within the United States as a public relations
                 counsel, publicity agent, information-service employee
                 or political consultant for or in the interests of such
                 foreign principal;
                 (iii) within the United States solicits, collects,
                 disburses, or dispenses contributions, loans, money, or
                 other things of value for or in the interest of such
                 foreign principal; or
                 (iv) within the United States represents the interests of
                 such foreign principal before any agency or official of
                 the Government of the United States; and
           (2) any person who agrees, consents, assumes or purports to
           act as, or who is or holds himself out to be, whether or not
           pursuant to contractual relationship, an agent of a foreign
           principal as defined in clause (1) of this subsection.
      (d) The term “agent of a foreign principal” does not include any
      news or press service or association organized under the laws of
      the United States or of any State or other place subject to the

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      jurisdiction of the United States, or any newspaper, magazine,
      periodical, or other publication for which there is on file with the
      United States Postal Service information in compliance with
      section 3611 of title 39, published in the United States, solely by
      virtue of any bona fide news or journalistic activities, including
      the solicitation or acceptance of advertisements, subscriptions, or
      other compensation therefor, so long as it is at least 80 per centum
      beneficially owned by, and its officers and directors, if any, are
      citizens of the United States, and such news or press service or
      association, newspaper, magazine, periodical, or other publication,
      is not owned, directed, supervised, controlled, subsidized, or
      financed, and none of its policies are determined by any foreign
      principal defined in subsection (b) of this section, or by any agent
      of a foreign principal required to register under this subchapter;
      (e) The term “government of a foreign country” includes any
      person or group of persons exercising sovereign de facto or de jure
      political jurisdiction over any country, other than the United
      States, or over any part of such country, and includes any
      subdivision of any such group and any group or agency to which
      such sovereign de facto or de jure authority or functions are
      directly or indirectly delegated. Such term shall include any
      faction or body of insurgents within a country assuming to
      exercise governmental authority whether such faction or body of
      insurgents has or has not been recognized by the United States;
      (f) The term “foreign political party” includes any organization or
      any other combination of individuals in a country other than the
      United States, or any unit or branch thereof, having for an aim or
      purpose, or which is engaged in any activity devoted in whole or in
      part to, the establishment, administration, control, or acquisition
      of administration or control, of a government of a foreign country
      or a subdivision thereof, or the furtherance or influencing of the
      political or public interests, policies, or relations of a government
      of a foreign country or a subdivision thereof;

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      (g) The term “public-relations counsel” includes any person who
      engages directly or indirectly in informing, advising, or in any way
      representing a principal in any public relations matter pertaining
      to political or public interests, policies, or relations of such
      principal;
      (h) The term “publicity agent” includes any person who engages
      directly or indirectly in the publication or dissemination of oral,
      visual, graphic, written, or pictorial information or matter of any
      kind, including publication by means of advertising, books,
      periodicals, newspapers, lectures, broadcasts, motion pictures, or
      otherwise;
      (i) The term “information-service employee” includes any person
      who is engaged in furnishing, disseminating, or publishing
      accounts, descriptions, information, or data with respect to the
      political, industrial, employment, economic, social, cultural, or
      other benefits, advantages, facts, or conditions of any country
      other than the United States or of any government of a foreign
      country or of a foreign political party or of a partnership,
      association, corporation, organization, or other combination of
      individuals organized under the laws of, or having its principal
      place of business in, a foreign country;
      (j) Repealed.
      (k) The term “registration statement” means the registration
      statement required to be filed with the Attorney General under
      section 612(a) of this title, and any supplements thereto required
      to be filed under section 612(b) of this title, and includes all
      documents and papers required to be filed therewith or
      amendatory thereof or supplemental thereto, whether attached
      thereto or incorporated therein by reference;
      (l) The term “American republic” includes any of the states which
      were signatory to the Final Act of the Second Meeting of the


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      Ministers of Foreign Affairs of the American Republics at Habana,
      Cuba, July 30, 1940;
      (m) The term “United States”, when used in a geographical sense,
      includes the several States, the District of Columbia, the
      Territories, the Canal Zone, the insular possessions, and all other
      places now or hereafter subject to the civil or military jurisdiction
      of the United States;
      (n) The term “prints” means newspapers and periodicals, books,
      pamphlets, sheet music, visiting cards, address cards, printing
      proofs, engravings, photographs, pictures, drawings, plans, maps,
      patterns to be cut out, catalogs, prospectuses, advertisements, and
      printed, engraved, lithographed, or autographed notices of various
      kinds, and, in general, all impressions or reproductions obtained
      on paper or other material assimilable to paper, on parchment or
      on cardboard, by means of printing, engraving, lithography,
      autography, or any other easily recognizable mechanical process,
      with the exception of the copying press, stamps with movable or
      immovable type, and the typewriter;
      (o) The term “political activities” means any activity that the
      person engaging in believes will, or that the person intends to, in
      any way influence any agency or official of the Government of the
      United States or any section of the public within the United States
      with reference to formulating, adopting, or changing the domestic
      or foreign policies of the United States or with reference to the
      political or public interests, policies, or relations of a government
      of a foreign country or a foreign political party;
      (p) The term “political consultant” means any person who engages
      in informing or advising any other person with reference to the
      domestic or foreign policies of the United States or the political or
      public interest, policies, or relations of a foreign country or of a
      foreign political party.


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22 U.S.C. § 612
 (a)   Filing; contents
No person shall act as an agent of a foreign principal unless he has filed
with the Attorney General a true and complete registration statement
and supplements thereto as required by subsections (a) and (b) of this
section or unless he is exempt from registration under the provisions of
this subchapter. Except as hereinafter provided, every person who
becomes an agent of a foreign principal shall, within ten days
thereafter, file with the Attorney General, in duplicate, a registration
statement, under oath on a form prescribed by the Attorney General.
The obligation of an agent of a foreign principal to file a registration
statement shall, after the tenth day of his becoming such agent,
continue from day to day, and termination of such status shall not
relieve such agent from his obligation to file a registration statement for
the period during which he was an agent of a foreign principal. The
registration statement shall include the following, which shall be
regarded as material for the purposes of this subchapter:
       (1) Registrant’s name, principal business address, and all other
       business addresses in the United States or elsewhere, and all
       residence addresses, if any;
       (2) Status of the registrant; if an individual, nationality; if a
       partnership, name, residence addresses, and nationality of each
       partner and a true and complete copy of its articles of
       copartnership; if an association, corporation, organization, or any
       other combination of individuals, the name, residence addresses,
       and nationality of each director and officer and of each person
       performing the functions of a director or officer and a true and
       complete copy of its charter, articles of incorporation, association,
       constitution, and bylaws, and amendments thereto; a copy of every
       other instrument or document and a statement of the terms and
       conditions of every oral agreement relating to its organization,
       powers, and purposes; and a statement of its ownership and
       control;
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      (3) A comprehensive statement of the nature of registrant’s
      business; a complete list of registrant’s employees and a statement
      of the nature of the work of each; the name and address of every
      foreign principal for whom the registrant is acting, assuming or
      purporting to act or has agreed to act; the character of the
      business or other activities of every such foreign principal, and, if
      any such foreign principal be other than a natural person, a
      statement of the ownership and control of each; and the extent, if
      any, to which each such foreign principal is supervised, directed,
      owned, controlled, financed, or subsidized, in whole or in part, by
      any government of a foreign country or foreign political party, or
      by any other foreign principal;
      (4) Copies of each written agreement and the terms and conditions
      of each oral agreement, including all modifications of such
      agreements, or, where no contract exists, a full statement of all
      the circumstances, by reason of which the registrant is an agent of
      a foreign principal; a comprehensive statement of the nature and
      method of performance of each such contract, and of the existing
      and proposed activity or activities engaged in or to be engaged in
      by the registrant as agent of a foreign principal for each such
      foreign principal, including a detailed statement of any such
      activity which is a political activity;
      (5) The nature and amount of contributions, income, money, or
      thing of value, if any, that the registrant has received within the
      preceding sixty days from each such foreign principal, either as
      compensation or for disbursement or otherwise, and the form and
      time of each such payment and from whom received;
      (6) A detailed statement of every activity which the registrant is
      performing or is assuming or purporting or has agreed to perform
      for himself or any other person other than a foreign principal and
      which requires his registration hereunder, including a detailed
      statement of any such activity which is a political activity;


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      (7) The name, business, and residence addresses, and if an
      individual, the nationality, of any person other than a foreign
      principal for whom the registrant is acting, assuming or
      purporting to act or has agreed to act under such circumstances as
      require his registration hereunder; the extent to which each such
      person is supervised, directed, owned, controlled, financed, or
      subsidized, in whole or in part, by any government of a foreign
      country or foreign political party or by any other foreign principal;
      and the nature and amount of contributions, income, money, or
      thing of value, if any, that the registrant has received during the
      preceding sixty days from each such person in connection with any
      of the activities referred to in clause (6) of this subsection, either
      as compensation or for disbursement or otherwise, and the form
      and time of each such payment and from whom received;
      (8) A detailed statement of the money and other things of value
      spent or disposed of by the registrant during the preceding sixty
      days in furtherance of or in connection with activities which
      require his registration hereunder and which have been
      undertaken by him either as an agent of a foreign principal or for
      himself or any other person or in conection [sic] with any activities
      relating to his becoming an agent of such principal, and a detailed
      statement of any contributions of money or other things of value
      made by him during the preceding sixty days (other than
      contributions the making of which is prohibited under the terms of
      section 613 of title 18) in connection with an election to any
      political office or in connection with any primary election,
      convention, or caucus held to select candidates for any political
      office;
      (9) Copies of each written agreement and the terms and conditions
      of each oral agreement, including all modifications of such
      agreements, or, where no contract exists, a full statement of all
      the circumstances, by reason of which the registrant is performing
      or assuming or purporting or has agreed to perform for himself or

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      for a foreign principal or for any person other than a foreign
      principal any activities which require his registration hereunder;
      (10) Such other statements, information, or documents pertinent
      to the purposes of this subchapter as the Attorney General, having
      due regard for the national security and the public interest, may
      from time to time require;
      (11) Such further statements and such further copies of
      documents as are necessary to make the statements made in the
      registration statement and supplements thereto, and the copies of
      documents furnished therewith, not misleading.
(b) Supplements; filing period
Every agent of a foreign principal who has filed a registration statement
required by subsection (a) of this section shall, within thirty days after
the expiration of each period of six months succeeding such filing, file
with the Attorney General a supplement thereto under oath, on a form
prescribed by the Attorney General, which shall set forth with respect
to such preceding six months’ period such facts as the Attorney General,
having due regard for the national security and the public interest, may
deem necessary to make the information required under this section
accurate, complete, and current with respect to such period. In
connection with the information furnished under clauses (3), (4), (6),
and (9) of subsection (a) of this section, the registrant shall give notice
to the Attorney General of any changes therein within ten days after
such changes occur. If the Attorney General, having due regard for the
national security and the public interest, determines that it is necessary
to carry out the purposes of this subchapter, he may, in any particular
case, require supplements to the registration statement to be filed at
more frequent intervals in respect to all or particular items of
information to be furnished.
(c) Execution of statement under oath
The registration statement and supplements thereto shall be executed
under oath as follows: If the registrant is an individual, by him; if the
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registrant is a partnership, by the majority of the members thereof; if
the registrant is a person other than an individual or a partnership, by
a majority of the officers thereof or persons performing the functions of
officers or by a majority of the board of directors thereof or persons
performing the functions of directors, if any.
(d) Filing of statement not deemed full compliance nor as
preclusion from prosecution
The fact that a registration statement or supplement thereto has been
filed shall not necessarily be deemed a full compliance with this
subchapter and the regulations thereunder on the part of the registrant;
nor shall it indicate that the Attorney General has in any way passed
upon the merits of such registration statement or supplement thereto;
nor shall it preclude prosecution, as provided for in this subchapter, for
willful failure to file a registration statement or supplement thereto
when due or for a willful false statement of a material fact therein or
the willful omission of a material fact required to be stated therein or
the willful omission of a material fact or copy of a material document
necessary to make the statements made in a registration statement and
supplements thereto, and the copies of documents furnished therewith,
not misleading.
(e) Incorporation of previous statement by reference
If any agent of a foreign principal, required to register under the
provisions of this subchapter, has previously thereto registered with the
Attorney General under the provisions of section 2386 of title 18, the
Attorney General, in order to eliminate inappropriate duplication, may
permit the incorporation by reference in the registration statement or
supplements thereto filed hereunder of any information or documents
previously filed by such agent of a foreign principal under the
provisions of said section.
(f) Exemption by Attorney General
The Attorney General may, by regulation, provide for the exemption—

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      (1) from registration, or from the requirement of furnishing any of
      the information required by this section, of any person who is
      listed as a partner, officer, director, or employee in the
      registration statement filed by an agent of a foreign principal
      under this subchapter, and
      (2) from the requirement of furnishing any of the information
      required by this section of any agent of a foreign principal.
where by reason of the nature of the functions or activities of such
person the Attorney General, having due regard for the national
security and the public interest, determines that such registration, or
the furnishing of such information, as the case may be, is not necessary
to carry out the purposes of this subchapter.
(g) Electronic filing of registration statements and supplements
A registration statement or supplement required to be filed under this
section shall be filed in electronic form, in addition to any other form
that may be required by the Attorney General.
22 U.S.C. § 618
 (a) Violations; false statements and willful omissions
Any person who—
      (1) willfully violates any provision of this subchapter or any
      regulation thereunder, or
      (2) in any registration statement or supplement thereto or in any
      other document filed with or furnished to the Attorney General
      under the provisions of this subchapter willfully makes a false
      statement of a material fact or willfully omits any material fact
      required to be stated therein or willfully omits a material fact or a
      copy of a material document necessary to make the statements
      therein and the copies of documents furnished therewith not
      misleading, shall, upon conviction thereof, be punished by a fine of
      not more than $10,000 or by imprisonment for not more than five

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      years, or both, except that in the case of a violation of subsection
      (b), (e), or (f) of section 614 of this title or of subsection (g) or (h) of
      this section the punishment shall be a fine of not more than
      $5,000 or imprisonment for not more than six months, or both.
(b) Proof of identity of foreign principal
In any proceeding under this subchapter in which it is charged that a
person is an agent of a foreign principal with respect to a foreign
principal outside of the United States, proof of the specific identity of
the foreign principal shall be permissible but not necessary.
(c) Removal
Any alien who shall be convicted of a violation of, or a conspiracy to
violate, any provision of this subchapter or any regulation thereunder
shall be subject to removal pursuant to chapter 4 of title II of the
Immigration and Nationality Act.
(d) Repealed.
(e) Continuing offense
Failure to file any such registration statement or supplements thereto
as is required by either section 612(a) or section 612(b) of this title shall
be considered a continuing offense for as long as such failure exists,
notwithstanding any statute of limitation or other statute to the
contrary.
(f) Injunctive remedy; jurisdiction of district court
Whenever in the judgment of the Attorney General any person is
engaged in or about to engage in any acts which constitute or will
constitute a violation of any provision of this subchapter, or regulations
issued thereunder, or whenever any agent of a foreign principal fails to
comply with any of the provisions of this subchapter or the regulations
issued thereunder, or otherwise is in violation of the subchapter, the
Attorney General may make application to the appropriate United
States district court for an order enjoining such acts or enjoining such

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person from continuing to act as an agent of such foreign principal, or
for an order requiring compliance with any appropriate provision of the
subchapter or regulation thereunder. The district court shall have
jurisdiction and authority to issue a temporary or permanent
injunction, restraining order or such other order which it may deem
proper.
(g) Deficient registration statement
If the Attorney General determines that a registration statement does
not comply with the requirements of this subchapter or the regulations
issued thereunder, he shall so notify the registrant in writing,
specifying in what respects the statement is deficient. It shall be
unlawful for any person to act as an agent of a foreign principal at any
time ten days or more after receipt of such notification without filing an
amended registration statement in full compliance with the
requirements of this subchapter and the regulations issued thereunder.
(h) Contingent fee arrangement
It shall be unlawful for any agent of a foreign principal required to
register under this subchapter to be a party to any contract, agreement,
or understanding, either express or implied, with such foreign principal
pursuant to which the amount or payment of the compensation, fee, or
other remuneration of such agent is contingent in whole or in part upon
the success of any political activities carried on by such agent.




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